United States District Court
DISTRICT OF NEW HAMPSHIRE

United States of America
Vv.

Ian Freeman
CASE NUMBER: 1:21-cr-00041-JL-01
WAIVER OF SPEEDY TRIAL

I, IAN FREEMAN, states as follows:

1. I am a Defendant in the above-captioned matter.
2. I am aware that the United States of America has filed an Assented to Motion to
Continue Trial for six (6) months.

3. [hereby waive my right to a speedy trial as it relates to the granting of this

Assented to Motion to Continue. (/ een
suzy

 

 

 

¢ |a7/2 (a
Date — ; Signature
Ian Freeman f
Print Name

 

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Attorney Sot Deféplabt Signature

 

Mark L. Sisti

 

Name
387 Dover Road
Address
Chichester, NH _ 03258
City State Zip Code
(603) 224-4220
Phone Number
Case 1:21-cr-00041-JL Document 52 Filed 04/28/21 Page 2 of 2

CERTIFICATION

[hereby certify that a copy of this appearance was forwarded to Assistant United States
Attorneys Georgiana MacDonald, Seth Aframe, and John Kennedy, electronically through EFC

on April 28, 2021. Jf

 
  
  

‘L- ALE Dy ye
Date Signature ee

Mark L. Sisti
Print Name
